    Case 1:04-cv-00798-PLF-GMH Document 1221-1 Filed 09/23/19 Page 1 of 1



                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,                     )
                                               )
         Plaintiff,                            )
                                               )
                        v.                     ) Civil Action No. 1:04-cv-00798-PLF/GMH
                                               )
                                               )
 ALL ASSETS HELD AT BANK JULIUS                )
 BAER & COMPANY, LTD., GUERNSEY                )
 BRANCH, ACCOUNT NUMBER 121128,                )
 IN THE NAME OF PAVLO                          )
 LAZARENKO, LAST VALUED AT                     )
 APPROXIMATELY $2 MILLION IN                   )
 UNITED STATES DOLLARS, ET AL.,                )
                                               )
         Defendants.                           )

                                      [PROPOSED] ORDER

       On September 23, 2019, Claimant Pavel Lazarenko filed an unopposed motion for a four-

day enlargement to file his reply to brief.

       The Court GRANTS Mr. Lazarenko’s motion. Claimant shall file his reply brief by

September 27, 2019.

       IT IS SO ORDERED.


__________________________                              _____________________________
DATE                                                    Hon. G. Michael Harvey
